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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 CANDACE D. ARLEDGE, individually, and
 on behalf of all others similarly situated,
                                                         Case No. 1 :21-cv-00974-LY
       Plaintiff,

 V.
                                                         Honorable Judge Lee Yeakel
 HARLEY-DAVIDSON FINANCIAL
 SERVICES, NC.,

       Defendants.


                                         PROPOSED ORDER

      This cause coming before the Court on Plaintiff's Motion to Extend Time to File Response to

Defendant's Partial Motion to Dismiss; the Court being fully advised in the premises and having

jurisdiction of the subject matter, IT IS HEREBY ORDERED:

          1.        Plaintiff's deadline to file her response to Defendant's Motion is extended up to

and including February 28, 2022.


Dated:                         /ç,rh

                                                        U                 S DIS     CT JUD GE
